                         UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA
                             DOCKET NO. 1:23-cv-114

 -----------------------------------------------------------------X
 JOHN DOE

                                Plaintiff,

       -against-

 WAKE FOREST UNIVERSITY,

                                 Defendant.
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                                      [PROPOSED] ORDER

       This matter is before the Court on Plaintiff’s Motion for Temporary Restraining

Order and Preliminary Injunction (ECF No. 5), as supported by Plaintiff’s Verified

Complaint (ECF No. 1), Plaintiff’s memorandum of law and the declarations and exhibits

annexed thereto. For the reasons set out in the Plaintiff’s motion, memorandum and

supporting evidentiary materials, and for other good cause shown, Plaintiff’s Motion for a

Temporary Restraining Order shall be GRANTED.

       Now, therefore, it is hereby ORDERED that Defendant Wake Forest University

appear before the United States District Court for the Middle District of North Carolina,

located at 324 W. Market Street, Greensboro, North Carolina 27401, Courtroom ____, on

the ____day of _______________2023, and SHOW CAUSE why:




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       1.      Defendant Wake Forest University should not be enjoined from suspending

Plaintiff John Doe from Wake Forest University and placing an adverse notation on his

transcript; and

       2.      Defendant Wake Forest University should not be immediately ordered to

permit Plaintiff John Doe to participate fully in all coursework and academic activities

necessary for the completion of his degree, and to award Plaintiff’s degree upon completion

of such requirements.

       Further, based upon the materials on file with the clerk in this matter, the Court finds

that Plaintiff has met the required showing necessitating the granting of a temporary

restraining order and preliminary injunction pursuant to Rule 65 of the Federal Rules of

Civil Procedure, in that (i) the probability of irreparable harm to the Plaintiff is present

should the relief not be granted, (ii) there is a likelihood that the Plaintiff will succeed on

the merits, (iii) the balance of hardships tips decidedly in Plaintiff’s favor, and (iv) the

injunction is in the public interest.

       Therefore, it is FURTHER ORDERED that, pending a determination of Plaintiff’s

Motion for Preliminary Injunction, Defendant is hereby restrained and enjoined from

suspending Plaintiff from Wake Forest University, restrained and enjoined from placing

any notation on Plaintiff’s transcript referring to the misconduct finding or sanction of

suspension, and is directed to restore or maintain Plaintiff access to participate fully in all

coursework and academic activities for which he has paid and registered for the Spring

2023 semester and as necessary for the completion of his degree and to which he would



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otherwise be entitled as a student in good standing, and, upon completion of such

requirements, to be timely conferred with his degree.

       IT IS HEREBY FURTHER ORDERED THAT service of all the papers

supporting Plaintiff’s Motion for Preliminary Injunction by e-mail upon J. Reid Morgan,

Esq., counsel for Wake Forest University, on or before 4:00 PM on February __, 2023,

shall constitute good and sufficient service.

       THIS ORDER REMAINS IN EFFECT UNTIL ___________, 2023.

       SO ORDERED this ____ day of February 2023 at ___ a.m./p.m.


                                           ______________________________________
                                           United States District Judge




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